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FILED BY-___ gg,
IN THE UNITED STATES DISTRICT COURT ”"-" ' '
FOR THE wESTERN DISTRICT oF TEN'NESSEE 05
wESTERN DIVISION JUL 22 PH |' l'|
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UNITED STATES oF AMERICA, l1113 1`~1»-1-111:_:;__1,;)1.§3

Plaintiff,
vs. No. 02-20380 B/V

MICHAEL R. SMITH,

\._¢\.¢`_r\._¢'~..z`_¢\..¢-_¢\_/

Defendant.

 

ORDER DENYING DEFENDANT’S MOTION FOR BAIL
PENDING RESOLUTION OF APPEAL

 

Before the court is the pro se nmtian of the defendant,
Michael R. Smith, pursuant to 18 U.S.C. § 3143(b), requesting that
the court grant his application for bail pending resolution of an
appeal that is currently before the Sixth Circuit Court of Appeals.
This motion has been referred to the United States Magistrate Judge
for determination. For the following reasons, the motion is
denied.

On July 28, 2004, Michael Smith pled guilty to being a felon
in possession of a firearm. The court sentenced Smith to 108
months imprisonment. Smith appealed this sentence, and the appeal
is currently pending before the Sixth Circuit Court of Appeals.

Smith now seeks release pending resolution of his appeal
pursuant to 18 U.S.C. § 3143(b). This section states:

(b) Release or detention pending appeal by the

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with Fiu|e 55 and/or 32(b) FHCrP on " -'

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defendant.--(l) Except as provided in paragraph (2), the
judicial officer shall order that a person who has been
found guilty of an offense and sentenced to a term of
imprisonment, and who has filed an appeal or a petition
for a writ of certiorari, be detained, unless the
judicial officer finds--

(A) by clear and convincing evidence that the person is
not likely to flee or pose a danger to the safety of any
other person or the community if released under section
3142(b) or (c) of this title; and

(B) that the appeal is not for the purpose of delay and

raises a substantial question of law or fact likely to
result in-

(i) reversal,
(ii) an order for a new trial,

(iii) a sentence that does not include a term of
imprisonment, or

(iv) a reduced sentence to a term of imprisonment less
than the total of the time already served. plus the
expected duration of the appeal process.

18 U.S.C § 3143.
The defendant fails to satisfy either prong of 18 U.S.C §

3143. At a bond hearing held before the District Court on August
25, 2003, Judge J. Daniel Breen made a determination that Smith
posed a risk of flight and danger to the community. At a hearing
before the undersigned Magistrate Judge on July 16, 2005, the
defendant offered no new circumstances which would persuade this
court to interfere with Judge Breen’s previous findings.
Furthermore, the defendant has failed to demonstrate that his
appeal will result in any of the four conditions described under

the second prong of 18 U.S.C. § 3143.

Accordingly, the defendant's motion for release on bail

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pending resolution of his appeal is denied.

IT IS SO ORDERED this 22nd day of July, 2005.

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DIANE K. VESCOVO
`UNITED STATES MAGISTRATE JU`DGE

   

UNITED `SETATSDISTRIC COURT - WETERN D'ST'CT oFTENNESSEE

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Honorable J. Breen
US DISTRICT COURT

